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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 19-CIV-61235-RUIZ

  CBRE, INC.,

         Plaintiff,

  v.

  CAPITAL COMMERCIAL
  REAL ESTATE GROUP, INC.,

        Defendant.
  ___________________________/

              DEFAULT FINAL JUDGMENT AND PERMANENT INJUNCTION

         THIS CAUSE comes before the Court upon the Order Granting Plaintiff’s Motion for

  Default Final Judgment [ECF No. 17] (“Order”). For the reasons stated in the Order, and pursuant

  to Rules 55 and 58 of the Federal Rules of Civil Procedure, it is

         ORDERED AND ADJUDGED that judgment is hereby entered in favor of Plaintiff,

  CBRE, Inc., and against Defendant, Capital Commercial Real Estate Group, Inc., as follows:

         1.      Permanent Injunctive Relief

         Defendant Capital Commercial, its subsidiaries, parents, affiliates, agents, servants,

  employees, directors, officers, and attorneys, and those persons or entities in active concert or

  participation with them, are hereby permanently restrained and enjoined from:

              a. selling, offering for sale, advertising, or promoting, any services under a mark,

  logo, or website that includes the following combination of elements: (1) the letters “CCRE,”

  “CCREG,” or similar variations thereof, (2) the letters being displayed in capital, block font, and

  (3) the letters being displayed in white against a green background, or displayed in green against

  a white background;



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             b. selling, offering for sale, advertising, or promoting any services that copy or display

  any words or symbols that so resemble CBRE’s trademarks and Trade Dress as to be likely to

  cause confusion, mistake, or deception, on or in connection with any service that is not authorized

  by or for Plaintiff, including, without limitation, any service that (i) bears the CBRE trademarks,

  (ii) bears CBRE’s Trade Dress or any similar logo, or (iii) otherwise approximates CBRE’s

  trademarks or Trade Dress.

             c. directly or indirectly infringing on CBRE’s trademarks;

             d. using any word, term, name, symbol, device, or combination that (i) causes or is

  likely to cause confusion, mistake, or deception as to the affiliation or association of Capital

  Commercial or its services with Plaintiff, or as to the origin of Capital Commercial’s services, or

  (ii) contains any false designation of origin of Capital Commercial’s services;

             e. engaging in any other activity constituting unfair competition or any other acts

  calculated or likely to cause confusion or mistake in the mind of the consuming public or to lead

  the public into the belief that Capital Commercials services are authorized, sponsored, licensed,

  endorsed, promoted, or condoned by CBRE or are otherwise affiliated or connected to CBRE;

             f. operating any website, online message-board, and social media accounts and/or

  handles (including but not limited to Facebook, Twitter, Instagram, and LinkedIn) associated with,

  using, linking to, transferring, selling, exercising control over, or otherwise owning any domain

  name that incorporates, in whole or in part, the CBRE marks or any marks confusingly similar

  thereto or colorable imitations thereof, including but not limited to the “ccreg.us” and

  “ccreflorida.com” domain names; and

             g. continuing to perform in any manner whatsoever any of the other acts complained

  of in CBRE’s Complaint.




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         2.      The Court retains jurisdiction over any motion for attorney’s fees or costs, any post-

  judgment matter that may be raised pursuant to the Federal Rules of Civil Procedure, and any

  motions that raise issues collateral to the Final Default Judgment.

         3.      All pending motions are DENIED AS MOOT.

         4.      The Clerk is directed to CLOSE this case.



         DONE AND ORDERED in Fort Lauderdale, Florida, this 31st day of July, 2019.




                                                            _________________________________
                                                            RODOLFO RUIZ
                                                            UNITED STATES DISTRICT JUDGE




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